                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
– – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – –X
In re                                                  :
                                                                     Chapter 13
IRIS RIVERA                                            :
                                                       :             Case No. 24-10228

                  Debtor(s).                           :
                                                       :

                                                       :
– – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – –X
                   DEBTOR’S MOTION TO EXTEND THE AUTOMATIC STAY

        Iris Rivera ("Movant"), hereby moves this Court (“Motion”) to extend the automatic
stay under 11 U.S.C § 362(a) as to all creditors pursuant to 11 U.S.C § 362(c)(3)(B). In support
of this motion, the Movant respectfully represents the following:
1.      Debtors filed a voluntary petition for relief under Chapter 13 of the Bankruptcy Code on
January 25, 2024.
2.      Debtors previously filed a Chapter 13 case on March 23, 2023, and the case was assigned
case number 23-10832 (“Prior Case”). The Prior case was dismissed on September 1, 2023 for
failure to make required plan payments.
3.      At the time of the dismissal of the Debtor's Prior Case, substantial expenses were
incurred for the repair and remediation of a roof leak. This situation led to the Debtor falling
behind in fulfilling her obligations to the trustee.
4.      The Debtor had anticipated that an augmentation in her Social Security benefits, intended
for her disabled children, would assist in offsetting these costs. Unfortunately, this increase did
not materialize promptly. Consequently, the Debtor's Prior Case was dismissed for failure to
make plan payments.
5.      Presently, the Debtor's income has stabilized as she now receives augmented Social
Security benefits for her children as well as a $400 contribution from a family member. These
combined increases furnish the debtor with adequate disposable income to fulfill her obligations
to creditors.
6.      The Debtor believes no parties shall be aggrieved upon the granting of this Motion.
       WHEREFORE, Debtors request that this Court continue the automatic stay under
§362(a) as to all creditors for the duration of this Chapter 13 proceeding, or until such time as the
stay is terminated under §362(c)(1) or (c)(2), or a motion for relief is granted under § 362(d).



                                                              /s/Paul H. Young
                                                              Paul H. Young, Esquire
                                                              Attorney for Debtor
                                                              3554 Hulmeville Rd., Ste. 102
                                                              Bensalem, PA 19020
                                                              (215) 639-5297
                                                              Fax: (215) 639-1344
                                                              support@ymalaw.com
